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                   UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NORTH DAKOTA


UNITED STATES OF AMERICA,                )
    Plaintiff,                           )
                                         )   17 CR 16-DLH
      v.                                 )
                                         )   UNOPPOSED
RED FAWN FALLIS,                         )   MOTION FOR MODIFICATION
    Defendant.                           )   OF FURLOUGH ORDER

      The Defendant, RED FAWN FALLIS, by and through her below-signed

Counsel, hereby moves this Court to modify its furlough order (Dkt. 127) so as to

permit Ms. Fallis to travel to Bismarck, North Dakota two hours earlier—at 6:00

a.m.—on December 7, 2017 with her counsel for her upcoming suppression

hearing and to return via bus in the early morning of December 9, 2017.

      1.    Counsel previously petitioned the Court to approve a furlough for Ms.

Fallis from December 4, 2017 until December 9, 2017, so as to enable her to

prepare with Counsel for the upcoming hearing and to attend the hearing itself.

Dkt. 123. Counsel sought to have Ms. Fallis travel with two of her counsel on

December 4, 2017, remain in Bismarck under their supervision, and return to Fargo

on December 9, 2017. The Court granted the request for furlough, but limited the

proposed time frame for the furlough. Dkt. 123.




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       2.     Attorneys Armour and Cook traveled to Fargo to meet with Ms. Fallis

and, due to the inclement weather and road conditions, remain in Fargo at this

time. They now plan to return to Bismarck on Thursday, December 7, 2017.

       4.     Ms. Fallis’ counsel are requesting that the Court allow them to leave

Fargo with Ms. Fallis by 6:00 a.m. on Thursday, December 7, 2017 to travel

directly to Bismarck and keep Ms. Fallis in their custody until her court appearance

on December 8, 2017. Counsel need to leave Fargo early in order to have ample

time in Bismarck to meet with a witness and prepare for the scheduled hearing.

       5.     Ms. Fallis’ counsel are further requesting that the Court allow them to

put Ms. Fallis on a inter-city Jefferson Lines bus to Fargo at 3:10 a.m. on the

morning of December 9, 2017. Ms. Fallis would travel directly to Fargo and would

be met at the bus stop in Fargo by representatives of Centre, Inc. Centre, has

agreed to meet Ms. Fallis at the bus stop at 6:20 a.m. Because of counsels’ own

return travel schedules they cannot physically return her to the facility.

       6.     Heather Achtenberg-Heck, Probation and Pre-Trial Service Officer,

has approved Ms. Fallis’ travel on December 7 and return on December 9, 2017

and has no objection to her traveling by bus.

       7.     The government, by AUSA David Hagler, likewise has no objection

to this request.


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      8.    Therefore, it is proposed that Ms. Fallis be permitted to travel from

Centre, Inc. on December 7, 2017 at 6:00 a.m. to Bismarck in the custody of her

Counsel and to return December 9, 2017 by Jefferson Lines bus service.


Dated:      December 5, 2017          Respectfully submitted,


BRUCE ELLISON                         JESSIE COOK
Law Office of Bruce Ellison           Law Office of Jessie Cook
P.O. Box 2508                         400 Wabash Avenue, Ste. 212
Rapid City, SD 57709                  Terre Haute, IN 47807
(605) 348-1117                        (812) 232-4634
belli4law@aol.com                     jessieacook@icloud.com

MOLLY ARMOUR
Law Office of Molly Armour
4050 N. Lincoln Avenue
Chicago, IL 60618
(773) 746-4849
armourdefender@gmail.com

s/ Molly Armour


Attorneys for Red Fawn Fallis




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